Case 1:10-cv-06950-AT-RWL Document 932

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

H, CRISTINA CHEN-OSTER, SHANNA
ORLICH, ALLISON GAMBA, and MARY DE
LUIS,

Plaintiffs,

- against -

GOLDMAN, SACHS & CO. and THE
GOLDMAN SACHS GROUP, INC.,

Defendants. :
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40 Civ. 6950 (AT) (RWL)

ORDER

 

On January 16, 2020, the Court heard oral argument on Defendants’ Motion to

Compel Arbitration and Plaintiffs’ Cross-Motion For Relief Under Rule 23(d). (Dkt. 715,

717.) As discussed during argument, the various briefings and statements in this case

reveal some discrepancies in the number and type of arbitration agreements in dispute.

Accordingly:

1. By January 30, 2020, the parties shall meet and confer, and submit to the

Court an agreed-upon set of numbers with respect to the agreements/categories

identified in the chart below. The number of any particular category of agreement should

reflect the number for which Defendants seek to compel arbitration. The numbers should

reflect those prior to concessions made at oral argument.
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Pre-Complaint

Post-Complaint
and Pre-Cert

Post-Cert

Total

 

Separation
Agreements

 

MD Promotion
Agreements

 

PWA
Agreements

 

Equity
Agreements

 

Total number of
agreements
that Defendants
seek to compel
to arbitration

 

Total number of
Class Members
who
Defendants
seek to compel
to arbitration

 

Type(s) and
total number of
agreements
that Plaintiffs
seek to void as
unconscionable

 

 

Type(s) and
total number of
agreements
that Plaintiffs
seek to void
under Rule
23(d)

 

 

 

 

 

 
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Total number of
Class Members
for whom
Plaintiffs seek
to void
arbitration
agreements as
unconscionable
or under Rule
23(d)

 

 

 

 

 

 

 

2. The submission shall also identify any concessions made by Plaintiffs at
oral argument (or since) as to how many agreements of each type and category they no
longer object to based on unconscionability, based on Rule 23(d) or based on any other
reason as the case may be.

3. By January 23, 2020, Plaintiffs and Defendants shall separately file on ECF

the three demonstrative exhibits provided to the Court during oral argument.

SO ORDERED.

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ROBERT W. LEHRBURGER
UNITED STATES MAGISTRATE JUDGE

 

Dated: January 16, 2020
New York, New York

Copies transmitted to all counsel of record.
